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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 19-cv-00872-MEH

 CHASE MANUFACTURING, INC. d/b/a THERMAL PIPE SHIELDS,

        Plaintiff,

 v.

 JOHNS MANVILLE CORPORATION,

       Defendant.
 ______________________________________________________________________________

                                   MINUTE ORDER
 ______________________________________________________________________________
 Entered by Michael E. Hegarty, Chief United States Magistrate Judge, on May 14, 2024.

        For good cause shown, the Court grants in part and denies in part Plaintiff’s Motion for
 Entry of Judgment. ECF 379. Potential reasonable attorney’s fees to the prevailing party and post-
 judgment interest are matters to be addressed by separate post-trial motions; the Final Judgment
 shall not address these issues. The Court directs the Clerk of Court to enter Final Judgment
 including Paragraph 1 of Plaintiff’s Motion as well as the Clerk’s standard language identifying
 the deadline for Plaintiff to submit its bill of costs pursuant to D.C.COLO.LCivR 54.1.
